Case 2:20-cv-12734-MAG-EAS ECF No. 162-5, PageID.8005 Filed 10/10/23 Page 1 of 2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-5, PageID.8006 Filed 10/10/23 Page 2 of 2



                              DECLARATION OF TREVOR ROGERS


    I. Trevor Rogers, declare as follows:



    1.     I am employed by J.B. Hunt Transport. Inc. (“JB 1 lunt”) as a Manager II, Operations over

    JB Hunt's customer account for DS Services of America, Inc. d/b/a Primo Water North America


    (f/k/a Mountain Valley Spring Company) (hereon referred to as “Shipper").


    2.     JB Hunt provides Shipper with services through its Dedicated Contract Services Business

    Unit “DCS").



    3.     JB Hunt and Shipper have a non-exclusive agreement.



    4.     JB Hunt transports Shipper's cargo on vehicles owned or leased to JB Hunt or by a third-


    party motor carrier.



    7.     Shipper tenders freight to JB Hunt and directs JB Hunt to where delivery is expected.


    8.     Shipper’s freight is tendered to JB Hunt from Hot Springs. Arkansas and is transported all

    over the country under JB Hunt’s motor carrier authority or a broker authority.




    I declare under the penalty of perjury under the laws of Arkansas and the United States that the

    foregoing is true and correct and that the foregoing was executed on this /2^3ay of May 2023
    in /Z>T                      (city),




                                                                  44?
                                                                                        Trevor Rogers




                                             J.B. Hunt Business
